                                                                   United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                     IN THE UNITED STATES DISTRICT COURT               January 19, 2021
                      FOR THE SOUTHERN DISTRICT OF TEXAS               Nathan Ochsner, Clerk
                               HOUSTON DIVISION



AIG PROPERTY CASUALTY COMPANY,           §
                                         §
                     Plaintiff,          §
                                         §
V.                                       §        CIVIL ACTION NO. H-20-3213
                                         §
MARK ANDREW SCHULTZ,                     §
                                         §
                     Defendant.          §




                          MEMORANDUM OPINION AND ORDER



     Plaintiff AIG Property Casualty Company ("Plaintiff") seeks a

declaration that the personal excess liability policy (the "AIG

Policy") that it issued to defendant Mark Schultz ("Defendant")

does not provide coverage to Defendant with respect to an auto

accident he was involved in on October 29, 2019. 1             Pending before

the court is Defendant's Motion to Dismiss or in the alternative,

Motion       to   Stay   ("Defendant's   Motion")    (Docket   Entry    No.       8).

Defendant moves to dismiss Plaintiff's request for declaratory

judgment pursuant to the Declaratory Judgment Act ("DJA"),                          28

U.S.C.   §    220l(a) or in the alternative under Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6).             For the reasons set forth below,

Defendant's Motion will be granted and this case will be dismissed.


     1
      Plaintiff's Original Complaint ("Complaint"} , Docket Entry
No. 1, p. 4 � 18(1).   All page numbers for docket entries in the
record refer to the pagination inserted at the top of the page by
the court's electronic filing system, CM/ECF.
                 I.   Factual and Procedural Background

     Plaintiff issued to Defendant the AIG Policy. 2             Defendant's

primary automobile liability insurance is provided by another

insurer.3

     ·On October 29, 2019, Defendant was involved in an automobile

accident that allegedly injured John and Ambrie Garcia. 4            On May

28, 2020, the Garcias filed suit against Defendant in the 164th

Judicial District Court of Harris County, Texas, alleging that he

negligently caused the accident and seeking over $1 million in

damages from him (the "Garcia Lawsuit") .5   No judgment has yet been

rendered in the case, and liability has not been established.

     On September 15, 2020, Plaintiff filed its complaint seeking

a declaration that the AIG Policy does not provide coverage for any

damages arising out of Defendant's "ownership, maintenance or use

of the 'auto' with respect to the Garcia Lawsuit" or "any other

claims or lawsuits arising out of the auto accident invo1-v-ing

Schultz on October 29, 2019." 6      Subsequent filings by Plaintiff



     2
      Id. at 2 ,
               � 5-6; AIG Policy, Exhibit A to Complaint, Docket
Entry No. 1-1.
     3
      Complaint, Docket Entry No. 1, p. 2, 7; Defendant's Reply to
Plaintiff's Response to Motion to Dismiss or in the alternative,
Motion to Stay ("Defendant's Reply") , Docket Entry No. 11, p. 1, 1.
     4
      Complaint, Docket Entry No. 1, p. 3 114; Defendant's ·Motion,
Docket Entry No. 8, p. 3, 7.
     5
      John and Ambrie Garcia's Original Petition with Requests for
Disclosure ( "Garcia Petition") , Exhibit B to Complaint, Docket
Entry No. 1-2, pp. 2-3 11 7-13.
     6
         Complaint, Docket Entry No. 1, pp. 3-4   11   16-,17.
                                  -2-
make clear that it seeks a declaration that it owes neither a duty

to defend nor a duty to indemnify Defendant.

      On December 7,        2020,     Defendant timely filed a Motion to
Dismiss      Plaintiff's    request     for    declaratory   judgment.7      On
December . 28, 2020, Plaintiff filed its Response to Defendant's
Motion to Dismiss.8        On January 4, 2021, Defendant filed its Reply
·to Plaintiff's Response.9


                           II.    Standard of Review

      "A declaratory judgment action is ripe for adjudication only
where an 'actual controversy' ex.ists." Orix Credit Alliance, Inc.
v. Wolfe, 212 F.3d 891, 896 (5th Cir. 2000) (quoting 28 U.S.C.
§   2201(a)).·       "Whether    an   actual   controversy   exists must be
determined on a case-by-case basis, but, as a general rule, one
exists where a substantial controversy of sufficient immediacy and
reality exists between parties having adverse legal interests."
TOTAL Gas     &   Power North America, Inc. v. Federal Energy Regulatory
Commission, 859 F.3d 325, 333 (5th Cir. 2017) (internal quotations,
citations,        and alterations omitted).         "A controversy,       to be
justiciable, must be such that it can presently be litigated and
decided. and not hypothetical, conjectural, conditional er ba.sed
upon the possibility of a factual                situation that may never


      7
          Defendant's Motion, Docket Entry No. 8.
      Plaintiff's Response to Defendant's Motion
      8
                                                                 to   Dismiss
("Plaintitf's Response"), Docket Entry No. 10.
      9
          Def�ndant's Reply, . Docket Entry No. 11.
                                        -3-
develop."   Brown   &   Root, Inc. v. Big Rock Corp., 383 F.2d 662, 665

(5th Cir. 1967).
     Federal Rule of Civil Procedure 12(b)(1) permits a party to
move that the court dismiss a case for "lack of subject-matter
jurisdiction."      Whether evaluating the justiciability of a case
under 28 U.S.C.     §   2201(a) or in the context of a Rule 12(b)(1)
motion, "' [a] case is properly dismissed for lack of subject matter
jurisdiction when the court lacks the statutory or constitutional
power to adjudicate the case.'"            Home Builders Association of

Mississippi, Inc. v. City of Madison, Mississippi, 143 F.3d 1006,
1010 (5th Cir. 1998).           Standing    and   ripeness   are essential
components of federal subject-matter jurisdiction.               Sample v.
Morrison, 406 F.3d 310, 312 (5th Cir. 2005).          "A case is generally
ripe if any remaining questions are purely legal ones; conversely,
a case is not ripe if· further factual development is required."
New Orleans Public Service, Inc. v. Council of Citv of New Orleans,
833 F.2d 583, 587 (5th Cir. 1987) (citing Thomas v. Union Carbide

Agricultural Products Co., 105 S. Ct. 3325, 3333 (1985))              "The

burden is on the party claiming declaratory judgment jurisdiction
to establish that such jurisdiction existed at the time the claim
for declaratory relief was filed."        Asia Vital Components Co. , Ltd.
v. Asetek Danmark A/S, 837 F.3d 1249, 1252 (Fed. Cir. 2016).
     Federal Rule of Civil Procedure 12(b)(6) permits a party to
move that the court dismiss a complaint for "failure to state a
claim upon which relief can be granted."               A court reviewing

                                    -4-
pleadings under this rule "'accepts all well-pleaded facts as true,

viewing them in the light most favorable to the plaintiff.''�
Alexander v. AmeriPro Funding, Inc., 848 F.3d 698, 701 (5th Cir.
2017) (citing Martin K. Eby Construction Co. v. Dallas Area Rapid
Transit, 369 F.3d 464, 467 (5th Cir. 2004)).      But "the tenet that
a court must accept as true all of the allegations contained in a
complaint is inapplicable to legal conclusions."           Ashcroft v.
Igbal, 129 S. Ct. 1937, 1949 (2009).       To survive a Rule 12 (b) (6)

motion to dismiss, a claimant must provide more than "threadbare
recitals of the elements of a cause of action, supported by mere
                                                                I         I


conclusory statements[.]" Id. Instead the plaintiff must plead
"enough facts to state a claim to relief that is plausible on its

face."      Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1974
(2007). "A claim has facial plausibility when the plaintiff pleads
factual content that allows the court to draw the reasonable
inference that the defendant is liable for the TP.isconduct alleged.   11
                                                                            ·




Gonzalez v. Kay, 577 F.3d 600, 603 (5th Cir. 2009) (quoting- Igbal,
129 S. Ct . a.t 1949)) .


                            III.   Discussion

     Defendant argues that Plaintiff's duty to indemnify is not yet
a subject of justiciable controversy because Defendant has not-yet
been held legally liable· in the underlying state court lawsuit (the
Garcia Lawsuit).10 Plaintiff argues that a justiciable controversy


     10
          Defendant's Motion, Docket Entry No. 8, p. 6.
                                   -5-
exists between the parties because "Schultz tendered the Garcia

Lawsuit to AIG and requested indemnity coverage for at least two

large settlement demands, although the AIG Policy does not cover

the loss." 11      Defendant states that neither he nor his primar�

carrier ever tendered a request for defense to AIG.12          He insists

that he merely "provided notice of the claim made against him to

AIG in accordance with the terms of the AIG Policy." 13           Because

Defendant has not submitted any affidavits, testimony, or other

evidentiary materials supporting this contention, the court wil�

treat Defendant's argument as a facial attack on jurisdiction and

will look only to the sufficiency of Plaintiff's allegations in the

Complaint, presuming those allegations to be true. See Paterson v.

Weinberger, 644 F.2d 521, 523 (5th Cir. 1981).

      The Texas Supreme Court has generally held that "there [is] no

justiciable controversy regarding the insurer's duty to indemnify

before a judgment has been rendered against an insured."          Farmers

Texas County Mutual Insurance Co. v. Griffin, 955 S.W.2d 81, 83

(Tex. 1997) (citing Firemen's Insurance Co. v. Burch, 442 S.W.2d

331   (Tex. 1968)) ;       see also LCS Corrections Services,    Inc. v.

Lexington Insurance Co., 800 F.3d 664, 668 (5th Cir. 2015) ("[W]�

generally evaluate the insurer's duty to indemnify after the


      11   Plaintiff's Response, Docket Entry No. 10, pp. 2-3.
      12
           Defendant's Motion, Docket Entry No. 8, p. 4 � 8.
      13
           Id. at 3 � 7.
                                     -6-
parties have developed the actual facts that establish liability in

the underlying lawsuit.")
     "An    insurer's duty to defend and duty to indemnify are
distinct and separate duties."       Griffin, 955 S.W.2d at 82.    An
insurer may have a duty to defend a lawsuit but may not have a duty
to indemnify the insured.    Id.    Alternatively, an insurer may not
have to defend a      lawsuit but may eventually have a duty to
indemnify.    See D.R. Horton-Texas, Ltd. v. Markel International
Insurance Co., Ltd., 300 S.W.3d 740, 744 (Tex. 2009) ("We hold that
even if Markel has no duty to defend D.R. Horton, it may still have
a duty to indemnify D.R. Horton as an additional insured under

Ramirez's CGL insurance policy.") .        "These duties can arise
independently of one     another because    the duty to defend is
determined by pleadings, but the duty to indemnify is determined by
the facts that are eventually ascertained in the underlying
lawsuit."    Hartford Casualty Insurance Company v. DP Engineering,
L.L.C., 827 F.3d 423, 430 (5th Cir. 2016)       (citing D.R. Horton-

Texas, 300 S.W.3d at 744).     "Accordingly, the duty to indemnify
typically cannot be adjudicated until there has been a judgment in
the underlying suit because facts proven at trial may differ
slightly from the allegations." Id. (citing Griffin, 955 S.W.2d at
83-84; Colony Insurance Co. v. Peachtree Construction, Ltd., 647
F.3d 248, 254-55 (5th Cir. 2011)).
     There is a narrow exception to this rule.        In Griffin the
Texas Supreme Court held that "the duty to indemnify is justiciable

                                   -7-
before the insured's liability is determined in the liability
lawsuit when the insurer has no duty to defend and the same reasons
that negate the duty to defend likewise negate any possibility the
insurer will ever have a duty to indemnify."            955 S.W. 2d at 84
(emphasis in original). The plaintiff in the underlying lawsuit in

Griffin alleged that a drive-by shooting caused his injuries, but
the insurance policy at issue in the case only covered "auto
accident[s] ."     Id.   The court reasoned that no set of facts could
be developed in the underlying lawsuit that could transform a

drive-by shooting into an "auto accident."                    The insurance
company in Griffin had no duty to defend,             and,    for the same
reasons, had no duty to indemnify.          Id.
      "When an insured party is sued, an insurer's duty to defend is
determined solely by the facts alleged in the petition and the
terms of the policy."         Peachtree, 647 F.3d at 253 (citing Pine Oak
Builders, Inc. v. Great American Lloyds Insurance Co., 279 S.W.3d

65 O , 654 (Tex. 2 O O 9)).    This is called the "eight corners" rule.
Id.   "[T]he duty to defend does not rely on the truth or falsity of
the underlying allegations; an insurer is obligated to defend the
insured if the facts alleged in the petition,               taken as true,
potentially assert a claim for coverage             under the insurance
policy."     Id.    (emphasis in original)        (citing    GuideOne Elite
Insurance Co. v. Fielder Road Baptist Church, 197 S.W.3d 305, 308
(Tex. 2 O O 6)).   "Because the only two documents relevant to the

                                      -8-
duty-to-defend inquiry are the insurance policy and the petition,
an insurE;!r's duty to defend can be determined at the moment the
petition is filed."                   "In contrast,       an insurer's duty to
indemnify generally cannot be ascertained until the completion of

litigation, when liability is established, if at all."                   Id. (citing
Griffin, 955 S.W.2d at 84).           "This is because, unlike the duty to
defend, which turns on the pleadings, the duty to indemnify is
triggered by the actual          facts       establishing liability in the

underlying suit, and whether any damages caused by the insured and
later proven at trial are .covered by the terms of the policy."                   Id.
(citing Trinity Universal Insurance Co. v. Cowan, 945 S.W.2d 819,
821 (Tex. 1997); D.R. Horton-Texas, 300 S.W.3d at 744).
     Plaintiff asserts that its request for declaratory relief is
justiciable under Griffin because an exclusion in the AIG Policy
"precludes AIG from owing a duty to defend once the underlying
limits      exhaust,     and   from    owing     a   duty        to     indemnify." 14
Specifically, Plaintiff relies on language in the AIG Policy that
provides as follows:       "This insurance does not provide coverage for
liability,       defense costs or any other cost or expense
[a]rising out of the ownership,               maintenance,       use,    loading or
unloading of               [a]ny auto or recreational motor vehicle not
covered     by    any   underlying    insurance      or    not    listed     on   the



     14
          Plaintiff's Response, Docket Entry No. 10, p. 5.
                                       -9-
Declarations Page of this policy." 15    Plaintiff points out that no

autos are listed on the Declarations Page.16
       The "eight corners" rule requires the court to look to the
petition in the underlying lawsuit.       See Peachtree, 647 F.3d at
253.    The Garcia Petition alleges that the Garcias were in "a 2017
Ford Explorer"    and Defendant was      "operating a 2015 Chevrolet
Suburban" when Defendant "suddenly, and without warning, struck the
back end of plaintiffs." 17
       These facts alone are not enough to show that Plaintiff has
met the narrow exception set forth in Griffin.              As the Texas
Supreme Court explained in D.R. Horton-Texas,          the decision in
Griffin was based on the "impossibility" of coverage.          300 S.W.3d
at 745. But coverage in this case is not impossible - appl:i..cation
of the "eight corners" rule still leaves open the possibility that
some set of facts could be developed in the Garcia Lawsuit under
which Plaintiff would have a duty to defend.
       For instance, the AIG Policy's auto exclusion does not apply
to rented, borrowed, or "Newly Acquired" autos . 18        Nothing within


      AIG Policy, Exhibit A to Complaint, Docket Entry No. 1-1,
       15

p. 13 , (A) (1) (b).
      Plaintiff's Response, Docket Entry No. 10, p. 5; AIG Policy,
       16

Exhibit A to Complaint, Docket Entry No .. 1-1, pp. 1-2.
      Garcia Petition,
       17
                           Exhibit   B   to   Complaint,    Docket   Entry
No. 1-2, p. 2 � 6.
      AIG Policy, Exhibit A to Complaint, Docket Entry No. 1-1,
       18

p. 13 � A.1.
                                 -10-
the "eight corners" of the Garcia Petition or the AIG Policy
establishes who owns the 2015 Chevrolet Suburban that Defendant
allegedly drove when the accident giving rise to the Garcia Lawsuit
took place.   If it were revealed that the vehicle at the time of
the accident was rented, borrowed, or "newly acquired" within the
meaning of the AIG Policy, then a duty to defend could potentially
arise.   Thus, the facts alleged in the Garcia Petition, taken as
true, could still "potentially assert a claim for coverage under
the insurance policy."     Peachtree, 647 F.3d at 253.      The narrow
Griff in exception,   which requires the negation of the . duty to
defend, does not apply here because the duty to defend has not been
conclusively negated.    See Griffin, 955 S.W.2d at 84.
     Moreover, Plaintiff does not allege that judgment has been
rendered against Defendant, or that a settlement has been reached
in the underlying state court litigation, or that Defendant is
legally obligated to pay any sums as damages. to which the AIG
Policy would apply.     For all these reasons any ruling addressing
Plaintiff's duty to indemnify Defendant for damages he may become
legally obligated to pay would be "hypothetical,           conjectural,
conditional [and] based upon the possibility of a factual situation
that may never develop."    See Brown   &   Root, Inc., 383 F.2d at 665
(5th Cir. 1967).   It would constitute an advisory opinion at this
stage.   Plaintiff's request for declaratory relief is thus subject
to dismissal for lack of subject matter jurisdiction under Federal
Rule of Civil Procedure 12(b) (1)

                                -11-
     Alternatively,   the court grants Defendant's Motion under
Federal Rule of Civil Procedure 12 (b) ( 6)     because Plaintiff has
failed to state a claim for which relief can be granted.    Plaintiff
must plead "enough facts to state a claim to relief that is
plausible on its face."     Twombly, 127 S. Ct. at 1974.         For the
reasons stated above,     the court finds that the facts are not
sufficiently developed for any meaningful decision to be reached
regarding Plaintiff's duty to defend or indemnify Defendant.


                             IV.     ORDER

     For the reasons explained in this Memorandum Opinion and
Order,   Defendant's Motion to Dismiss       (Docket Entry No.    8)   is

GRANTED, and this action will be dismissed without prejudice.

     SIGNED at Houston, Texas, on this 19th day of January, 2021.




                               SENIOR UNITED STATES DISTRICT JUDGE




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